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                                UNITED STATES DISTRICT COURT
                                SO U TH ER N D ISTR IC T O F FL O R ID A

                             CA SE NO .23-CR-20319-M 1DDLEBRO OK S


     UN ITED STAT ES O F A M ER ICA

     V.

     SCH N EEK A PA R K ER ,


                    D efendant.


                                       FA C TU A L PR O FFER

            TheUnited Statesand SCHNEEKA PARKER (theGr efendanf')agreethathadthiscase
     ptoceeded to trial,the United StatesofAm erica would have proven,beyond areasonable doubt,

     the follow ing facts,w llich occurred in the Southern D istrictofFlorida and elsew here:

            OnJuly 23,2023,theDefendantandherco-defendantTakeiaHerder(EGl-lerder'')arrived
     atthePortofM iamiin M iami,Florida,aboard the M SC Seascape Cruise SMp (theG&Vesse1'').
     From July 16,2023 to July 23,2023,the Vesselhad traveled to Grand Cayman,the Bahamas,

     Jnm aica, and M exico,before retunzing to M iami.As the Defendant arld Herder waited to

     disembark f'
                rom theVessel,CustomsandBorderProtection (:ûCBP'')officersinstnzctedthem to
     bring theirbelongings fora secondary inspection.

            The Defendant brought her belongings, wllich included a dark colored suitcase.At

     secondary inspection,the D efendantidentified the luggage as herow n. The suitcase contained a

     dark-colored backpack.A ftercutting into the lining ofthebackpack,officersfotmdtwopackages

     of a w hite pow dery substance. ln total, officers discovered tw o packages of a w hite pow dery

     substance weighing approxim ately 2.35 lcilogram s in the Defendant's backpack. Subsequent
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  laboratory analysisconfirm ed the tw o packagescontained am ixttlre and substance containing a

  detectable am ount of cocaine.Oflicers also found packages of cocaine sim ilarly concealed in

  H erder's bags.

         Surveiltancefootagef'
                             rom theVesselcapturedtheDefendantandHerderboardingthe
  Vessel,each carrying a dark-colbred backpack. Surveillance footage show sthe Defendantand

  Herderusing these backpacks on July 16 and July 17. On July 19,2023,the Vesseldocked in

  Jmnaica.Stuweillance footage shows the Defendant and Herder each canying a dark-colored

  backpack.Laterthatsam e day,surveillance footage capturestheDefendantreboarding the ship,

  alone,with a differentdark-colored backpack andreturningtohercabin.A review ofsurveillance

  footagerevealed theDefendantdidnotcarry thedark-colored backpack whileon boardtheVessel

  again. This was the sam e backpack the Defendant possessed during secondary inspection

  containing 2.35ldlogrnmsofam ixtureand substancecontaining a detectable amotmtofcocaine.

         ln apost-M iranda interview,theDefendantexplainedHerderhad invitedheron thecruise

  andpaidfortheDefendant'sticket.TheDefendantsaidthatshehad been giventhebackpack while

  in Jnm aica.




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  andtheDefendant,aresuffcientto provebeyond areasonabledoubtthattheDefendantimported

  a controlled substan'
                      ce,specifically a m ixture and substance containing a detectable am otm t of

  cocaine,intotheUnited States,inviolation ofTitle21,United StatesCode,Sections9524$ and
  960(b)(3).

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